         Case 2:10-cv-02687-LKC Document 13 Filed 10/01/10 Page 1 of 9



                      UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF PENNSYLVANIA
______________________________________________________________________________
David Brown                            :
2319 N. 51st Street                    :
Philadelphia, PA 19131                 :
                                       :
                       Plaintiff,      :
               v.                      :    CIVIL ACTION NO.: 10-2687
                                       :
City of Philadelphia, et al            :
1515 Arch Street                       :    Jury of Twelve (12) Jurors Demanded
Philadelphia, PA 19102                 :
                                       :
                       Defendants.     :

                                            ORDER

       AND NOW this _________ day of _________, 2010, upon consideration of Defendant,

Northeastern’s Motion to Compel Arbitration, and Plaintiff’s Response in opposition thereto, it is

hereby ORDERED and DECREED that Defendant’s Motion is DENIED.

       AND IT IS SO ORDERED.




                                             _______________________________________
                                             Petrese B. Tucker                     ,J.
             Case 2:10-cv-02687-LKC Document 13 Filed 10/01/10 Page 2 of 9



                      UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF PENNSYLVANIA
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                                       :
                       Defendants.     :

                                        ALTERNATE ORDER


           AND NOW this _________ day of _________, 2010, upon consideration of Defendant,

Northeastern’s Motion to Compel Arbitration, and Plaintiff’s Response in opposition thereto, it is

hereby ORDERED and DECREED that Defendant’s Motion is GRANTED in part and DENIED

in part:

           Defendant is severed from this action and Plaintiff shall proceed to arbitration as to only

said Defendant. The balance of Plaintiff’s claims shall proceed.

           AND IT IS SO ORDERED.



                                                 _______________________________________
                                                 Petrese B. Tucker                     ,J.
         Case 2:10-cv-02687-LKC Document 13 Filed 10/01/10 Page 3 of 9



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                                       :
                       Defendants.     :

 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT, NORTHEASTERN’S
                  MOTION TO COMPEL ARBITRATION

       Incorporating by reference his attached Memorandum of Law, Plaintiff requests this

Honorable Court deny Defendant, Northeastern’s Motion to Compel Arbitration.

       WHEREFORE, Plaintiff requests this Honorable Court deny Defendant, Northeastern’s

Motion to Compel Arbitration. In the alternative, Plaintiff requests this Honorable Court sever

said Defendant against only whom arbitration shall proceed with the balance of this action

proceeding before this Honorable Court.


                                                    WEISBERG LAW, P.C.


                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    Attorney for Plaintiff
          Case 2:10-cv-02687-LKC Document 13 Filed 10/01/10 Page 4 of 9



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Philadelphia, PA 19102                 :
                                       :
                       Defendants.     :

      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S RESPONSE IN
     OPPOSITION TO DEFENDANT, NORTHEASTERN’S MOTION TO COMPEL
                           ARBITRATION

I.     Introduction

               This Arbitration Agreement describes when and how a Claim (as
               defined below) arising under or related to this Installment Loan
               And Security Agreement (the “Loan Agreement”) between you
               and us may be arbitrated.

               … “Claim” means any claim, dispute or controversy between you
               and us that in any way arises from or relates to the Loan
               Agreement … (emphasis added).

       The Arbitration Agreement is a prohibited addendum to the Retail Installment Sales

Contract (“RISC”). The Arbitration Agreement does not require arbitration and is thus, void for

ambiguity. Plaintiff’s Complaint is not a “claim” within the meaning of the Arbitration

Agreement.

       For any of the foregoing, Defendant’s Motion should be denied; Defendant discusses

none. In the alternative, Defendant should be severed to arbitration allowing the balance of

Plaintiff’s claims to proceed.
          Case 2:10-cv-02687-LKC Document 13 Filed 10/01/10 Page 5 of 9



II.    Argument

       A.      The Arbitration Agreement is a Prohibited Addendum and Prohibitively Executed

After the RISC

               There is no arbitration provision in the RISC. The arbitration provision appears

only as an addendum. The addendum is not a part of the RISC as a matter of law regardless of

its attempt to be integrative – by statute, there can be no integration.

       Pursuant to the Pennsylvania Motor Vehicle Sales Finance Act (“MVSFA”), RISC’s

related to the financed sale of a motor vehicle “shall contain all of the agreements between the

buyer and the seller relating to the installment sale of the motor vehicle sold.” 69 P.S. § 613(a)

(emphasis added). Pursuant to the MVSFA, “[e]very installment sale contract shall be

completed as to all essential provisions prior to the signing of such contract by the buyer.” 69

P.S. § 613(b) (emphasis added). Therefore, any “agreement” not in the RISC is null and void.

Newman v. Keys, 12 Pa. D&C.2d 705 (Pa.Com.P. 1956) (judgment note separate from RISC

was null and void pursuant to 69 P.S. §§ 613 & 614).

               It is important to note the MVSFA’s history and purpose. In developing and

passing the MVSFA, the Pennsylvania legislature found that there was a great need to remedy

the wide-spread and nefarious sales practices employed by motor vehicle dealers. In particular,

the legislature underlined and targeted for amelioration sellers’ use of multiple documents to

confuse and mislead consumers. The legislature found the following:

               (a)     That an exhaustive study by the Joint State Government
                       Commission discloses nefarious, unscrupulous and
                       improper practices in the financing of the sale of motor
                       vehicles in this Commonwealth which are unjustifiable
                       detrimental to the consumer and inimical to the public
                       welfare. Such practices prevail not only among some
                       sellers, but also among some sales finance companies and
                       some banks, which acquire contracts arising out of
          Case 2:10-cv-02687-LKC Document 13 Filed 10/01/10 Page 6 of 9



                       installment sales of motor vehicles, and which frequently
                       influence the credit policies of sellers.

               (c)     That consumers, because of these legal technicalities and
                       because of their unequal bargaining position, are at the
                       mercy of unscrupulous persons and are being intolerably
                       exploited in the installment purchase of motor vehicles.
                       Such exploitation is evident in the unfair provisions of the
                       installment sale contract, exorbitant charges for credit,
                       extortionate default … collection, repossession …
                       unconscionable practices respecting execution of
                       contracts … repossession and redemption.

               (d)     That practices enumerated, and others equally pernicious,
                       have existed to such an extent that regulation of the
                       installment selling of motor vehicles is necessary to the
                       adequate protection of the public interest. Adequate
                       regulation of installment selling must include control of
                       the functions of selling and financing of motor vehicles
                       …

               Therefore, it is hereby declared to be the policy of the
               Commonwealth of Pennsylvania to promote the welfare of its
               inhabitants and to protect its citizens from abuses presently
               existing in the installment sale of motor vehicles, and to that end
               exercise the police power of the Commonwealth to bring under the
               supervision of the Commonwealth all persons engaged in the
               business of extending consumer credit in conjunction with the
               installment sale of motor vehicles; to establish a system of
               regulation for the purpose of ensuring honest and efficient
               consumer credit service for installment purchasers of motor
               vehicles; and to provide the administrative machinery necessary
               for effective enforcement. 69 P.S. § 601 (emphasis added).

               The provisions of the MVSFA cannot be waived: “No act, agreement or statement

of any buyer in any installment sale contract shall constitute a valid waiver of any provision of

this Act intended by the legislature for the benefit of protection of retail installment buyers of

motor vehicles.” 69 P.S. § 632.

               The MVSFA is remedial in nature – it must be construed liberally to effectuate its

overall purpose of protecting consumers from unfair practices by both automobile sellers and
             Case 2:10-cv-02687-LKC Document 13 Filed 10/01/10 Page 7 of 9



direct and indirect lenders. Anderson v. Automobile Fund, 391 A.2d 642, 651 (Pa.Super. 1978)

(citing Com. v. Monumental Properties, Inc., 459 Pa. 450, 329 A.2d 812 (1974)).

                 The addendum’s arbitration provision is statutorily void as against public policy

(as is its attempt to be integrative) because the arbitration provision is not contained within the

RISC. Further, the addendum was clearly executed after the RISC – also statutorily prohibited,

rendering it void.

        B.       “May” Renders the Arbitration Provision Void for Ambiguity

                 May creates ambiguity as to arbitration’s election rendering the Arbitration

Agreement unenforceable. Cosme v. Durham, Civ.A. No. 07-3153 (E.D.Pa. February 6, 2008);

Hankin v. Graphic Technology, Inc., 2009 WL 3825880 (Pa.Com.Pl. 2009).

                 May renders the arbitration provision void as ambiguous. If “may,” then Plaintiff

declines arbitration. There is nothing within the arbitration agreement that renders it compelling

arbitration.

        C.       Plaintiff’s Complaint is not a “Claim” as Defined

                 In contrast to many Courts’ holdings that an arbitration provision is to be broadly

construed to include causes of action contemplated but not otherwise set forth therein the

arbitration provision, the United States Supreme Court has recently held that an arbitration

provision must be narrowly construed consistent with contract law principles (“to determine

whether the parties’ dispute … is arbitrable, it is necessary to apply the rule that a court may

order arbitration of a particular dispute only when satisfied that the parties agreed to arbitrate

that dispute”). Granite Rock Co. v. International Brotherhood of Teamsters, No. 08-1214 (U.S.

June 24, 2010) (slip opinion) (emphasis not added).
           Case 2:10-cv-02687-LKC Document 13 Filed 10/01/10 Page 8 of 9



               Plaintiff does not complain against Northeastern’s contractual right to repossess

(i.e., “arises of or relates to the Loan Agreement”), but rather Defendant’s unlawful manner of

repossession. No matter how broad Movant requests this Honorable Court construe its

arbitration provision, the United States Supreme Court requires that provision’s strict, narrowest

reading.

               Plaintiff’s Complaint does not arise from or relate to the loan agreement – it is

effectively a personal injury action arising from a repossession gone awry.

III.   Conclusion

       The arbitration provision is an invalid addendum which statutorily cannot be integrated

and was prohibitively executed after the RISC - legislatively void as against public policy. There

is nothing within the arbitration provision, in fact, compelling arbitration – “may” renders the

arbitration agreement unenforceably vague. Plaintiff’s Complaint does not raise a “claim”

arising from or relating to the Loan Agreement – Plaintiff does not challenge Movant’s right of

repossession but rather the manner in which it was performed.

       Much as Movant’s Brief claims this arbitration issue is settled law, none of the authority

cited by Defendant discusses any of the foregoing arguments; thus, Plaintiff respectfully requests

this Honorable Court exercise its duty of independent review.

       In the event this Honorable Court finds the arbitration provision enforceable, Plaintiff

requests Defendant be severed to arbitration and this action be allowed to proceed in balance (the

remaining claims and Defendants are instantly unrelated).


                                                     WEISBERG LAW, P.C.

                                                     /s/ Matthew B. Weisberg
                                                     Matthew B. Weisberg, Esquire
                                                     Attorney for Plaintiff
         Case 2:10-cv-02687-LKC Document 13 Filed 10/01/10 Page 9 of 9



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Philadelphia, PA 19102                 :
                                       :
                       Defendants.     :

                                CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 1st day of October, 2010, a

true and correct copy of the foregoing Plaintiff’s Response in Opposition to Defendant,

Northeastern’s Motion to Compel Arbitration and Memorandum of Law in support thereof were

served via ECF, upon the following parties:

Amanda C. Shoffel, Esq.
City of Philadelphia Law Department
1515 Arch Street, 14th Floor
Philadelphia, PA 19102

Burt M. Rublin, Esq.
Willian B. Igoe, Esq.
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1735 Market St., 51st Fl.
Philadelphia, PA 19103-7599


                                                    WEISBERG LAW, P.C.


                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    Attorney for Plaintiff
